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                                                                  Debtors): Maiy Thomas Baxter                   Case number: 23-I0480<;LC



                 PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

  I declare that the foregoing chapter 13 plan is true and correct under penally of peijuiy.


                                           Debtor                                                        Joint Debtor
                                                                                                                                Date
 Mary Thomas Baxter



 !sJ Jose A. Blanco, Esq.
                                                       Date
   Attorney with permission to sign on
    Debtor(s)' behalf who certifies that
    the contents of the plan have been
      reviewed and approved by the
                            I
               Debtor(s).

  By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
  order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
  contains no nonstandardprovisionsother than those set out in paragraphIX




^This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney ot sign documents on the Debtor(s)' behalf.
